             Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 1 of 32




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                       §
   BRAZOS LICENSING AND                              §
   DEVELOPMENT,                                      §         CIVIL ACTION NO. 6:20-cv-578
                                                     §
             Plaintiff,                              §           JURY TRIAL DEMANDED
                                                     §
   v.                                                §
                                                     §
   GOOGLE LLC,                                       §
                                                     §
             Defendant.                              §
                                                     §

                  ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

“Plaintiff”), by and through its attorneys, files this Complaint for Patent Infringement against

Google LLC (“Google”) and alleges:

                                   NATURE OF THE ACTION
        1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                           THE PARTIES
        2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

        3.       On information and belief, Google is a Delaware corporation with a physical

address at 500 West 2nd Street, Austin, Texas 78701.

                                  JURISDICTION AND VENUE
        4.       This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.



                                                      1
            Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 2 of 32




       5.       This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       6.       This Court has specific and general personal jurisdiction over the defendant

pursuant to due process and/or the Texas Long Arm Statute, because the defendant has committed

acts giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over the defendant would not offend traditional notions of fair play and substantial

justice because the defendant has established minimum contacts with the forum. For example, on

information and belief, the defendant has committed acts of infringement in this judicial district,

by among other things, selling and offering for sale products that infringe the asserted patent,

directly or through intermediaries, as alleged herein.

       7.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b). Google

is registered to do business in Texas. Google has offices in this District, has transacted business in

this District, and has committed acts of direct and indirect infringement in this District. Google

also has a regular and established place of business in this District, as set forth below.

       8.       Since 2007, Google has employed “hundreds” of employees in this District in

Austin, Texas. 1 As of August 2018, Google had more than 800 employees in Austin. 2 By June of

2019, Google had more than 1,100 employees in Austin. 3 In January 2019, it was reported that

Google “signed a lease for an entire 35-story tower that has started construction just east of the

Central Library in downtown Austin.” 4 Google’s 35-story tower in Austin “will have 790,000


1
  According to Gerardo Interiano, Google's public affairs and government relations manager, in a
statement. See http://www.statesman.com/business/google-lease-200-000-square-feet-new-
downtown-austin-tower/SANZSa3du8QQ4k8ytOC2rJ/
2
  See https://www.statesman.com/news/20190131/source-google-to-occupy-35-story-office-
tower-in-downtown-austin
3
   See https://www.bizjournals.com/austin/news/2019/06/14/google-confirms-austin-expansion-
will-begin-moving.html
4
  Id.

                                                      2
            Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 3 of 32




square feet of space, enough to potentially house about 5,000 people.” 5




Source: https://www.statesman.com/news/20190131/source-google-to-occupy-35-story-office-
tower-in-downtown-austin

       9.       Articles report that Google’s office in Austin would “would certainly be one of its

most expansive offices in North America.” 6

       10.      Google has 300,000 square feet of office space in Austin, Texas, at 500 West 2nd

Street. 7 Google also has offices on North MoPac Expressway, 8 University Park, and Austin’s

Children Museum. 9




5
  Id.
6
  See https://9to5google.com/2019/01/31/google-signs-lease-austin-campus/
7
  See https://www.bizjournals.com/austin/news/2020/02/27/google-to-invest-10b-in-offices-and-
data-centers.html
8
  See https://www.google.com/intl/en/about/locations/?region=north-america
9
  See http://www.statesman.com/business/google-lease-200-000-square-feet-new-downtown-
austin-tower/SANZSa3du8QQ4k8ytOC2rJ/

                                                    3
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 4 of 32




Source: https://www.youtube.com/watch?v=RKA1RJYGOYQ




Source: https://www.bizjournals.com/austin/news/2019/10/28/inside-austins-coolest-
offices.html#g/419929/15




                                                 4
          Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 5 of 32




       11.     Google has, as of June 2020, fifty (50) job postings for Austin, TX. 10

       12.     Google’s taxed appraised property values in Travis County (Austin) are

approximately $1 billion. 11 Google’s taxed appraised property values in in McLennan County

(Waco) are approximately $75,000. 12 Google’s taxed appraised property values in Bexar County

(San Antonio) are approximately $50 million. 13 Google’s taxed appraised property values in in El

Paso are approximately $258,000. 14

       13.     Operationally, Google is a multinational technology company that collects, stores,

organizes, and distributes data. In addition to its service model for distribution of data (e.g.,

movies, search results, maps, music, etc.), Google has an expansive regime that gathers data on

residents of this District through the hardware devices it sells (e.g., phones, tablets, and home audio

devices) and, also, through the operating systems and apps it provides. As an example, Google

gathers data when a resident runs its operating systems and apps (e.g., location services). 15 As

another example, Google gathers data when a resident interacts with Google’s plethora of services

such as search, email, and music and movie streaming. See https://safety.google/privacy/data/

(indicating that Google gathers data from “things you search for,” “Videos you watch,” “Ads you

view or click,” “Your location,” “Websites you visit,” and “Apps, browsers, and devices you use

to access Google services”). As yet another example, Google gathers data by listening and

recording everything a resident says within proximity of one of its products, such as Google


10

https://careers.google.com/jobs/results/?company=Google&company=YouTube&hl=en&jlo=en-
US&location=Austin,%20TX,%20USA
11
   See http://propaccess.traviscad.org
12
   See https://propaccess.trueautomation.com/clientdb/Property.aspx?cid=20&prop_id=378970
13
   See https://bexar.acttax.com/act_webdev/bexar/showdetail2.jsp?can=000001265355,
14
   See http://www.epcad.org/Search?Keywords=GOOGLE+INC&Year=2019
15
   See e.g., “AP Exclusive: Google tracks your movements, like it or not,”
https://apnews.com/828aefab64d4411bac257a07c1af0ecb/AP-Exclusive:-Google-tracks-your-
movements,-like-it-or-not

                                                      5
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 6 of 32




Home. 16 Others have reported that Google gathers “where you’ve been,” “everything you’ve ever

searched – and deleted,” “all the apps you use,” “all of your YouTube history,” “which events you

attended, and when,” “information you deleted [on your computer],” “your workout routine,”

“years’ worth of photos,” and “every email you ever sent.” 17

       14.     Google takes these massive amounts of gathered data on residents of this District

and monetizes them, for example, through targeted advertising. Some have reported that “creepy”

advertisements for items never searched for, but only spoken out loud, appeared. See e.g.,

https://www.youtube.com/watch?v=zBnDWSvaQ1I (conducting test on the term “dog toys”

spoken out loud, but never searched; tester claims targeted “dog toy” advertisements only appeared

after speaking the phrase out loud).

       15.     In addition to extensive data gathering of information on residents of this District,

Google has a substantial presence in the District directly through the products and services Google

provides residents of this District (some of which also gather data). 18 One of Google’s main

businesses in this District is delivering information, including digital content such as movies,

music, apps, and advertising.

       16.     Google describes itself as an “information company.” 19 Its vision is “to provide


16
   See https://www.unilad.co.uk/technology/google-is-listening-to-everything-we-say-and-you-
can-hear-it-back/ (“Tech giant and the font of all pub quiz knowledge, Google, can quietly record
many of the conversations that people have in close proximity to its products.”).
17
   See https://www.theguardian.com/commentisfree/2018/mar/28/all-the-data-facebook-google-
has-on-you-privacy.
18
   Non-limiting examples include Google Search, Maps, Translate, Chrome Browser, YouTube,
YouTube TV, Google Play Music, Chromecast, Google Play Movies and TV, Android Phones,
Android Wear, Chromebooks, Android Auto, Gmail, Google Allo, Google Duo, Google+, Google
Photos, Google Contacts, Google Calendar, Google Keep, Google Docs, Google Sheets, Google
Slides, Google Drive, Google Voice, Google Assistant, Android operating system, Project Fi
Wireless phone systems, Google Pixel, Google Home, Google Wifi, Daydream View, Chromecast
Ultra.
19
   See “This Year’s Founder’s Letter” by Alphabet CEO, Sundar Pichai,
https://blog.google/inside-google/alphabet/this-years-founders-letter/.

                                                    6
           Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 7 of 32




access to the world’s information in one click,” and its mission is “to organize the world’s

information and make it universally accessible and useful.” 20 Making information available to

people wherever they are and as quickly as possible is critical to Google’s business.

Google Global Cache (GGC)

       17.     As Google’s CEO, Sundar Pichai, explains, “We want to make sure that no matter

who you are or where you are or how advanced the device you are using—Google works for

you.” 21 To meet this goal, Google developed a content delivery network that it calls the Edge

Network.

       18.     One non-limiting example of physical presence in this District is Google’s Edge

Network. Google provides web-based services, such as YouTube, YouTube TV, and Google Play,

to users throughout the world. These services are in high demand. Google reports that Google Play

reaches more than 1 billion Android users and that YouTube serves over 1.8 billion users per

month. 22 Studies show that YouTube alone is responsible for approximately 20% of all internet

traffic. 23 YouTube TV, which has been described as an “add-on to YouTube” allows Google to

essentially become the local TV provider for residents of this District. For example, residents in

this District obtain local Waco-Temple-Bryan area channels such as KXXV, ABC (Channel 25);

KBTX, CBS (Channel 3) or KWTX, CBS (Channel 10); KCEN NBC (Channel 5); and KCEN,

Fox (Channel 6). 24   To verify a resident should receive such local channels, Google verifies a

location of such resident.


20
   See http://panmore.com/google-vision-statement-mission-statement.
21
   See e.g., http://time.com/4311233/google-ceo-sundar-pichai-letter/.
22
   See https://www.theverge.com/2018/5/3/17317274/youtube-1-8-billion-logged-in-monthly-
users-brandcast-2018
23
   See https://www.sandvine.com/hubfs/downloads/archive/2016-global-internet-phenomena-
report-latin-america-and-north-america.pdf and http://testinternetspeed.org/blog/half-of-all-
internet-traffic-goes-to-netflix-and-youtube/
24
   See, e.g. https://thestreamable.com/markets/waco-temple-bryan-tx.

                                                   7
            Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 8 of 32




         19.     Google’s Edge Network, itself, has three elements: Core Data Centers, Edge Points

of Presence, and Edge Nodes. The Core Data Centers (there are eight in the United States) are used

for computation and backend storage. Edge Points of Presence are the middle tier of the Edge

Network and connect the Data Centers to the internet. Edge Nodes are the layer of the network

closest to users. Popular content, including YouTube TV, YouTube, video advertising, music,

mobile apps, and other digital content from the Google Play store, is cached on the Edge Nodes,

which Google refers to as Google Global Cache or “GGC.”

         20.     Google Global Cache is recognized as “one of Google’s most important pieces of

infrastructure,” 25 and Google uses it to conduct the business of providing access to the world’s

information. GGC servers in the Edge Nodes function as local data warehouses, much like a shoe

manufacturer might have warehouses around the country. Instead of requiring people to obtain

information from distant Core Data Centers, which would introduce delay, Google stores

information in the local GGC servers to provide quick access to the data.

         21.     Caching and localization are vital for Google’s optimization of network resources.

Because hosting all content everywhere is inefficient, it makes sense to cache popular content and

serve it locally. Doing so brings delivery costs down for Google, network operators, and internet

service providers. Storing content locally also allows it to be delivered more quickly, which

improves user experience. Serving content from the edge of the network closer to the user improves

performance and user happiness. To achieve these benefits, Google has placed Edge Nodes

throughout the United States, including in this District. Google describes these nodes as the

workhorses of video delivery.

         22.     Just like brick-and-mortar stores, Google’s GGC servers independently determine



25
     See http://blog.speedchecker.xyz/2015/11/30/demystifying-google-global-cache/.

                                                    8
          Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 9 of 32




what content to cache based on local requests. The GGC servers in Google’s Edge Nodes include

software that Google refers to as “μstreamer.” μstreamer is responsible for serving video content

from YouTube and other Google services, along with other large content such as Google Play

applications and Chrome downloads. It operates on a content-delivery platform at the edge of

Google’s network called “bandaid”; it does not run in the core (except for some internal testing

purposes), unlike the majority of the Google services, such as search or gmail.

        23.     Using μstreamer and bandaid, a GGC server handles requests directly from its

clients, predominantly YouTube’s video players. When such a request is received, if the content

is stored in the node’s local cache, the node will serve it to the end user, improving the user

experience and saving bandwidth. If cache-eligible content is not already stored on the node, and

the content is cache-eligible, the node will retrieve it from Google, serve it to the user, and store it

for future requests.

        24.     μstreamer is largely autonomous, in the sense that almost all decisions related

to serving a particular request are made locally, without coordinating with other servers. Like a

brick-and-mortar store sells directly to customers from inventory and stocks that inventory based

on local customer demand, μstreamer in each GGC node decides—independently from other nodes

in Google’s Edge Network— whether to serve requested content, whether to cache content, and

whether to send requests to other servers.

        25.     Google’s GGC servers are housed in spaces in the District leased by Google.

Google’s GGC servers are housed in spaces leased by Google from Internet Service Providers

(ISPs) whose networks have substantial traffic to Google and are interested in saving bandwidth.

Hosting Google servers allows ISPs to save both bandwidth and costs, as they do not incur the

expense of carrying traffic across their peering and/or transit links.




                                                      9
          Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 10 of 32




        26.       When an ISP agrees to host a GGC server, the parties enter into a Global Cache

Service Agreement, under which Google provides:

              •   hardware and software— including GGC servers and software—to be housed in

                  the host’s facilities;

              •   technical support; service management of the hardware and software; and

              •   content distribution services, including content caching and video streaming.

In exchange, the host provides, among other things, a physical building, rack space where

Google’s computer hardware is mounted, power, and network interfaces. All ownership rights,

title, and intellectual property rights in and to the equipment (i.e., the hardware and software

provided by Google) remain with Google and/or its licensors.

        27.       27.     Multiple ISP hosted GGC servers are in this District. Google’s website

identifies Midland, El Paso, Austin, and San Antonio as GGC server locations. Each of these cities

is located in this District.




                                                      10
           Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 11 of 32




Source: https://peering.google.com/#/infrastructure

          28.    The Office of Telecommunications Services for the University of Texas, for

example, is an ISP that hosts two GGC servers in Austin, Texas. 26

          29.    Google caches content on the GGC servers located in this District.

          30.    Google’s GGC servers located in this District cache content that includes, among

other things: (i) video advertising; (ii) apps; and (iii) digital content from the Google Play store.

          31.    Google’s GGC servers located in this District deliver cached content for the items

in the preceding paragraph to residents in this District.

          32.    Google generates revenue (i) by delivering video advertising, (ii) from apps,

and (iii) from digital content in the Google Play store.



26
     See https://it.utexas.edu/ots-caching-and-peering

                                                         11
           Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 12 of 32




          33.     Google treats its GGC servers in this District the same as it treats all of its other

GGC servers in the United States.

          34.     The photograph below shows an “illustrative picture” of a Google GGC server.




Source: https://www.wired.com/2010/03/google-traffic/

          35.     Google not only exercises exclusive control over the digital aspects of the GGC,

Google, but also exercises exclusive control over the physical server and the physical space within

which the server is located and maintained.

Google’s Communication Services

          36.     Google provides both data and television services to both San Antonio and

Austin. 27




27
     https://fiber.google.com/ourcities/

                                                       12
        Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 13 of 32




Google’s Cell Phone Service (aka Google Fi)

       37.    Google also provides phone, messaging, and data services in this District from its

wireless phone services called Google Fi. Via the Google Fi service, Google provides its

customers voice and high-speed data coverage (4G LTE) for cities such as Waco.




                                                 13
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 14 of 32




Source: https://fi.google.com/coverage?q=Waco,%20tx

       38.     The cell towers used for Google’s services are fixed geographical locations. They

are “regular” and “established” because they operate in a “steady, uniform, orderly, and methodical

manner” and are sufficiently permanent. They are “of the defendant” because Google has

contractual and/or property rights to use the cell towers to operate its business. Google also ratifies

the service locations through its coverage lookup service.

       39.     With this coverage lookup service, Google advertises its ability to provide cell

coverage in this District and its selected cell towers in and near this District to provide the


                                                      14
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 15 of 32




advertised coverage (e.g., 2G, 3G, or 4GLTE) depending on the location in the District. See

https://fi.google.com/coverage?. Google is not indifferent to the location of its cell towers. It

“established” and “ratified” their geographic placement to achieve specific business purposes.

       40.     Residents of this District also directly contract with and are billed by Google for

these services as their telecommunications provider.




Source: https://fi.google.com/about/plan

       41.     Google also determines which cell tower a particular Google Fi customer will use

while within the District.




                                                   15
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 16 of 32




Source: https://fi.google.com/about/faq/#network-and-coverage-4

              COUNT ONE - INFRINGEMENT OF U.S. PATENT NO. 9,335,825

        42.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

        43.     On May 10, 2016, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 9,335,825 (“the ‘825 Patent”), entitled “Gesture control.” A true and correct

copy of the ‘825 Patent is attached as Exhibit A to this Complaint.

        44.     Brazos is the owner of all rights, title, and interest in and to the ‘825 Patent,

including the right to assert all causes of action arising under the ‘825 Patent and the right to any

remedies for the infringement of the ‘825 Patent.

        45.     Google makes, uses, sells, offers for sale, imports, and/or distributes in the United

States, including within this judicial district, products such as, but not limited to, products that emit

electromagnetic waves and measure the responses reflected therefrom from a human body (e.g. a

hand) (collectively, the “Accused Products”).

        46.     The Accused Products support include Google products that use Soli including, but

not limited to, Google’s Pixel 4 and Pixel 4XL (collectively “Google Pixel 4”).

        47.     Google Pixel 4 is a smartphone designed by Google. The Google Pixel 4 ships with

a new chip called Soli, which includes a built-in radar designed to allow a user to be able to make

hand gestures to control the phone. This chip, along with software, provides a gesture detection

functionality for the phone that Google has named Motion Sense.




                                                       16
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 17 of 32




Source: https://atap.google.com/soli/technology/V




Source: https://dl.acm.org/doi/pdf/10.1145/2897824.2925953?download=true




Source: https://atap.google.com/soli/




                                                    17
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 18 of 32




       48.     The Google Pixel 4 ships with a Qualcomm Snapdragon 855 as the main processor,

among other miscellaneous specialized processing chips.




Source: https://store.google.com/us/product/pixel_4_specs

       49.     The Google Pixel 4 ships with 6 GBs of RAM and either 64 or 128 GB of storage

space, depending on the model. Both the RAM and the storage space are used to store and execute

computer code with the phone’s processor.




Source: https://store.google.com/us/product/pixel_4_specs, Page

       50.     The Google Pixel 4 comprises and runs the Android smartphone operating system

(OS), which is configured to detect that an application is being started on the apparatus, among

other functions.




                                                  18
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 19 of 32




       51.      Google Pixel 4 comes installed with the Android 10 operating system. As the

operating system, Android is responsible for detecting and keeping track of applications running

on the phone.




        Source: https://store.google.com/us/magazine/compare_pixel?toggler1=pixel_4.


       52.      An example of the Android OS keeping track of applications running on the phone

is the ActivityManager class in the Android API. As part of the Android developer API, the

ActivityManager class keeps track of and reports information about running applications on the

device. Below is an example of one of the methods provided by the Android OS API’s

ActivityManager class.




Source: https://developer.android.com/reference/android/app/ActivityManager

       53.      The Soli chip, as a component of the Google Pixel 4, functions as a continuous

wave doppler radar. A continuous wave doppler radar is a radar that emits electromagnetic

radiation at all times. By measuring the Doppler Shift of the reflected electromagnetic radiation,




                                                   19
           Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 20 of 32




the radar can extract information about the motion vector, speed, and rate of acceleration on an

object.




https://fas.org/man/dod-101/navy/docs/es310/cwradar/cwradar.htm
          54.   The Soli chip constantly emits shortwave radio signals that are reflected at least in

part by the human body. The chip measures the temporal and frequency changes of the reflected

signal, or the Doppler Shift, to gather information about the environment.




Source: https://atap.google.com/soli/technology/




                                                     20
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 21 of 32




Source: https://atap.google.com/soli/technology/


       55.     When the Android OS determines that a running application has a Motion Sense

gesture available to use, a blue glow is displayed at the top of the screen to indicate such, and the

radar contained in the Soli chip is confirmed to be on in response to the Motion Sense enabled

application being run.




Source: https://support.google.com/pixelphone/answer/9517454?hl=en

       56.     The Soli chip in the Google Pixel 4 contains an antenna array that functions as a

radar receiver, that receives radio signals of the same type transmitted by the Soli radar. This radar




                                                     21
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 22 of 32




receiver is configured to receive the transmitted radio waves reflected by a gesture by the user of

the phone.




Source: https://dl.acm.org/doi/pdf/10.1145/2897824.2925953?download=true




Source: https://atap.google.com/soli/technology/




Source: https://atap.google.com/soli/technology/



                                                   22
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 23 of 32




       57.     The Soli chip in the Google Pixel 4 includes a doppler radar that detects time-

varying modulation caused by gestures made by a user of the device. The radar emits radio waves

and records temporal (time-varying) variations in the received radar signals. The reflection of the

radio waves made by the user’s hand gestures causes changes in the properties of radio waves,

such as changes in frequency, which are detected by the Soli chip’s receiver and recorded. In the

figure below is a representation of the Soli chip emitting the radar signal and detecting the reflected

radio waves. The Soli chip collects data sets of Doppler values. Gestures are extracted from the

obtained data sets.




Source: https://dl.acm.org/doi/pdf/10.1145/2897824.2925953?download=true




Source: https://dl.acm.org/doi/pdf/10.1145/2897824.2925953?download=true




                                                      23
        Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 24 of 32




Source: https://atap.google.com/soli/technology/




Source: https://www.youtube.com/watch?v=0QNiZfSsPc0




                                                   24
        Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 25 of 32




Source: https://dl.acm.org/doi/pdf/10.1145/2897824.2925953?download=true




Source: https://dl.acm.org/doi/pdf/10.1145/2897824.2925953?download=true

       58.    The Google Pixel 4 uses a trained machine learning algorithm to classify the data

received from the Soli Chip doppler radar as one of the various predetermined user input

commands. Based on the application and specific use case, different predetermined gestures may




                                                 25
        Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 26 of 32




be detected. For example, many music players are configured to skip a track when the

predetermined gesture of a hand swipe is detected.




Source: hhttps://support.google.com/pixelphone/answer/9517454?hl=en
       59.    After executing mathematical feature extraction, machine learning classifiers and

algorithms are employed to determine which gesture corresponds to the detected radio inputs. The

below figures include examples of the specific gestures that can be recognized as user input

commands.




Source: https://dl.acm.org/doi/pdf/10.1145/2897824.2925953?download=true




                                                     26
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 27 of 32




Source: https://dl.acm.org/doi/pdf/10.1145/2897824.2925953?download=true




Source: https://dl.acm.org/doi/pdf/10.1145/2897824.2925953?download=true

       60.     After detecting a user gesture via the doppler radar and classifying the gesture via

the classification algorithm, the Google Pixel 4 uses the sensed commands as user input. Various

applications can make use of the gestures to control functionalities within them. Examples of

gestures detected via the Motion Sense radar functionality provided by the Soli chip being used as

input to control operations in various applications include “Virtual Button,” “Virtual Slider,”

“Horizontal Swipe,” and “Vertical Swipe.”

       61.     In one application, the phone detects the user “waving” to virtual creatures on the

screen as an input, which causes the virtual creatures to wave back. In another, a wave of the hand

is detected and interpreted to allow users to skip songs in their music playlists. The below figures




                                                    27
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 28 of 32




are two frames from a YouTube video that demonstrates the predetermined user input of hand

swiping with Motion Sense to skip a music track in the music application running on the phone.




Source: https://atap.google.com/soli/



                                                  28
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 29 of 32




Source: https://www.youtube.com/watch?v=dDqH9EstUsA




Source: https://www.youtube.com/watch?v=dDqH9EstUsA

       62.     In view of preceding paragraphs, each and every element of at least claim 1 of the

‘825 Patent is found in the Accused Products.

       63.     Google continues to directly infringe at least one claim of the ‘825 Patent, literally

or under the doctrine of equivalents, by making, using, selling, offering for sale, importing, and/or

distributing the Accused Products in the United States, including within this judicial district,


                                                     29
           Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 30 of 32




without the authority of Brazos.

          64.   Google has received notice and actual or constructive knowledge of the ‘825 Patent

since at least the date of service of this Complaint.

          65.   Since at least the date of service of this Complaint, through its actions, Google has

actively induced product makers, distributors, retailers, and/or end users of the Accused Products

to infringe the ‘825 Patent throughout the United States, including within this judicial district, by,

among other things, advertising and promoting the use of the Accused Products in various

websites, including providing and disseminating product descriptions, operating manuals, and

other instructions on how to implement and configure the Accused Products. Examples of such

advertising, promoting, and/or instructing include the documents at:

      •    https://atap.google.com/soli/
      •    https://atap.google.com/soli/technology/
      •    https://support.google.com/pixelphone/answer/9517454?hl=en
      •    https://dl.acm.org/doi/pdf/10.1145/2897824.2925953?download=true
      •    https://store.google.com/us/product/pixel_4_specs
      •    https://store.google.com/us/product/pixel_4
      •    https://store.google.com/us/magazine/compare_pixel?toggler1=pixel_4
      •    https://developer.android.com/reference/android/app/ActivityManager
      •    https://www.youtube.com/watch?v=0QNiZfSsPc0
      •    https://www.youtube.com/watch?v=dDqH9EstUsA
      •    https://fas.org/man/dod-101/navy/docs/es310/cwradar/cwradar.htm



          66.   Since at least the date of service of this Complaint, through its actions, Google has

contributed to the infringement of the ‘825 Patent by having others sell, offer for sale, or use the

Accused Products throughout the United States, including within this judicial district, with



                                                        30
         Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 31 of 32




knowledge that the Accused Products infringe the ‘825 Patent. The Accused Products are

especially made or adapted for infringing the ‘825 Patent and have no substantial non-infringing

use. For example, in view of the preceding paragraphs, the Accused Products contain functionality

which is material to at least one claim of the ‘825 Patent.

                                            JURY DEMAND
       Brazos hereby demands a jury on all issues so triable.


                                    REQUEST FOR RELIEF

       WHEREFORE, Brazos respectfully requests that the Court:

       (A)     Enter judgment that Google infringes one or more claims of the ‘825 Patent literally

and/or under the doctrine of equivalents;

       (B)     Enter judgment that Google has induced infringement and continue to induce

infringement of one or more claims of the ‘825 Patent;

       (C)     Enter judgment that Google has contributed to and continue to contribute to the

infringement of one or more claims of the ‘825 Patent;

       (D)     Award Brazos damages, to be paid by Google in an amount adequate to compensate

Brazos for such damages, together with pre-judgment and post-judgment interest for the

infringement by Google of the ‘825 Patent through the date such judgment is entered in accordance

with 35 U.S.C. § 284, and increase such award by up to three times the amount found or assessed

in accordance with 35 U.S.C. § 284;

       (E)     Declare this case exceptional pursuant to 35 U.S.C. § 285; and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.




                                                     31
        Case 6:20-cv-00578-ADA Document 1 Filed 06/29/20 Page 32 of 32




Dated: June 29, 2020                 Respectfully submitted,

                                    /s/ James L. Etheridge
                                    James L. Etheridge
                                    Texas State Bar No. 24059147
                                    Ryan S. Loveless
                                    Texas State Bar No. 24036997
                                    Travis L. Richins
                                    Texas State Bar No. 24061296
                                    ETHERIDGE LAW GROUP, PLLC
                                    2600 E. Southlake Blvd., Suite 120 / 324
                                    Southlake, Texas 76092
                                    Telephone: (817) 470-7249
                                    Facsimile: (817) 887-5950
                                    Jim@EtheridgeLaw.com
                                    Ryan@EtheridgeLaw.com
                                    Travis@EtheridgeLaw.com


                                    COUNSEL FOR PLAINTIFF




                                          32
